
TERRELL, Justice.
This is a certified question under 30 F.S.A. Rule 38 of the Rules of this Court. We do not think it meets the requirement of Schwob Co. v. Florida Industrial Commission, 152 Fla. 203, 11 So.2d 782. It seeks an adjudication or restoration to sanity as provided in Section 394.22(4) (a, b), Florida Statutes 1953, F.S.A. a proceedings vested in the Circuit Court. The certificate is denied without prejudice to seek adjudication in'the Circuit Court as authorized in the cited and applicable statutes.
It is so ordered.
ROBERTS, C. J., and SEBRING and MATHEWS, JJ., concur.
